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O A O 245B    N N Y (Rev. 10/05) Judgment in a C riminal C ase
              Sheet 1



                                           U NITED STATES D ISTRICT C OURT
                          Northern                                        District of                             New York
          UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                               V.
                        Earl Nelson
                                                                                Case Number:                    DNYN505CR000449-003

                                                                                USM Number:              13540-052
                                                                                Lisa A. Gilels
                                                                                333 East Onondaga Street
                                                                                Syracuse, New York 13202
                                                                                (315)428-1268
                                                                                Defendant’s Attorney
THE DEFENDANT:
X pleaded guilty to count(s)          1 of the Indictment on September 6, 2006.

G pleaded nolo contendere to count(s)
   which was accepted by the court.

G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                           Offense Ended            Count
21 U.S.C. § 846                     Conspiracy to Possess with Intent to Distribute and Distribution of            9/29/05                 1
                                    Heroin



       The defendant is sentenced as provided in pages 2 through                        6      of this judgment. The sentence is imposed in accordance
with 18 U.S.C. § 3553 and the Sentencing Guidelines.

G The defendant has been found not guilty on count(s)
X Count(s)      2 of the Indictment                              X is     G are dismissed on the motion of the United States.
        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                May 25, 2007
                                                                                Date of Imposition of Judgment




                                                                                May 30, 2007
JAK                                                                             Date
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A O 245B       N N Y (Rev. 10/05) Judgment in a C riminal C ase
               Sheet 2 — Imprisonment

                                                                                                                     Judgment — Page       2       of   6
 DEFENDANT:                         Earl Nelson
 CASE NUMBER:                       DNYN505CR000449-003


                                                                         IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:


           18 months. This sentence begins today and shall run concurrently to the state sentence the defendant is currently serving.



      G    The court makes the following recommendations to the Bureau of Prisons:




      X    The defendant is remanded to the custody of the United States M arshal.

      G    The defendant shall surrender to the United States M arshal for this district:

           G      at                                        G a.m.           G p.m.        on                                                  .

           G      as notified by the United States M arshal.

      G    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           G      before 2 p.m. on                                                     .

           G      as notified by the United States M arshal.

           G      as notified by the Probation or Pretrial Services Office.



                                                                                RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                                      to

 at                                                               , with a certified copy of this judgment.




                                                                                                                  U N ITED STA TES M A RSH A L



                                                                                        By
                                                                                                              D EPU TY U NITED STA TES M A RSH A L
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A O 245B       N N Y (Rev. 10/05) Judgment in a C riminal C ase
               Sheet 3 — Supervised R elease
                                                                                                              Judgment— Page      3     of        6
 DEFENDANT:                       Earl Nelson
 CASE NUMBER:                     DNYN505CR000449-003
                                                                   SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:


 4 years.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance.
 The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
 determined by the court.

 G        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future substance
          abuse. (Check, if applicable.)

 x        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

 x        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Deselect, if inapplicable.)

 G        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student,
          as directed by the probation officer. (Check, if applicable.)

 G        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
      If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule
 of Payments sheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)    the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
           a felony, unless granted permission to do so by the probation officer;
 10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court;
 13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
           record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant’s compliance with such notification requirement; and
 14)       the defendant shall not possess a firearm, destructive device, or any other dangerous weapon.
 AO 245B        N N Y (Rev. 10/05) Judgment in a C riminal C ase
                Sheet 3C — Supervised R elease
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                                                                                                 Judgment— Page   4    of       6
DEFENDANT:               Earl Nelson
CASE NUMBER:             DNYN505CR000449-003

                                     SPECIAL CONDITIONS OF SUPERVISION

1.    The defendant shall reside for a period of 4 months in a residential reentry center or other suitable facility and shall observe
      the rules of that facility.
2.    The defendant shall participate in a program for substance abuse which shall include testing for drug and/or alcohol use and
      may include inpatient and/or outpatient treatment. The program shall be approved by the United States Probation Office.
3.    The defendant shall contribute to the cost of any evaluation, testing, treatment and/or monitoring services rendered in an
      amount to be determined by the probation officer based on the defendant’s ability to pay and the availability of third party
      payments.


     DEFENDANT’S ACKNOWLEDGMENTOF APPLICABLE CONDITIONS OF SUPERVISION

Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.
The conditions of supervision have been read to me. I fully understand the conditions and have been provided a copy
of them.


                         Defendant                                                        Date



                         U.S. Probation Officer/Designated W itness                       Date
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A O 245B   N N Y (R ev. 10/05) Judgment in a C riminal C ase
           Sheet 5 — C riminal M onetary Penalties
                                                                                                              Judgment — Page    5      of        6
 DEFENDANT:                          Earl Nelson
 CASE NUMBER:                        DNYN505CR000449-003
                                                  CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                                Fine                                Restitution
 TOTALS            $ 100.00                                                  $ W aived                           $ N/A



 G   The determination of restitution is deferred until                         . An Amended Judgment in a Criminal Case (AO 245C) will
     be entered after such determination.

 G   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                                 Total Loss*                     Restitution Ordered              Priority or Percentage




 TOTALS                                  $                                          $


 G    Restitution amount ordered pursuant to plea agreement $

 G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the fifteenth
      day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject to penalties for
      delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 G    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      G the interest requirement is waived for the                     G fine   G       restitution.

      G the interest requirement for the               G        fine    G restitution is modified as follows:


 * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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A O 245B   N N Y (R ev. 10/05) Judgment in a C riminal C ase
           Sheet 6 — Schedule of Payments

                                                                                                         Judgment — Page     6      of       6
 DEFENDANT:                   Earl Nelson
 CASE NUMBER:                 DNYN505CR000449-003

                                                           SCHEDULE OF PAYMENTS
 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    X    In full immediately; or

 B    G    Lump sum payment of $                                    due immediately, balance due

           G    not later than                                        , or
           G    in accordance with        G     D,     G       E,   G F, or       G G below; or
 C    G    Payment to begin immediately (may be combined with                 G D,       G E, or    G   G below); or

 D    G    Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 E    G    Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 F    G    Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 G    G    Special instructions regarding the payment of criminal monetary penalties:



 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
 Responsibility Program, are made to Lawrence K. Baerman, Clerk, U.S. District Court, Federal Bldg., P.O. Box 7367, 100 S. Clinton
 Street, Syracuse, N.Y. 13261-7367, unless otherwise directed by the court, the probation officer, or the United States attorney. If a victim
 cannot be located, the restitution paid to the Clerk of the Court for that victim shall be sent to the Treasury, to be retrieved if and when the
 victim is located.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 G    Joint and Several

      G    Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
           and corresponding payee, if appropriate.



      G    The Court gives notice that this case involves other defendants who may be held jointly and severally liable for payment of all or part
           of the restitution ordered herein and may order such payment in the future.


 G    The defendant shall pay the cost of prosecution.

 G    The defendant shall pay the following court cost(s):

 G    The defendant shall forfeit the defendant’s interest in the following property to the United States:

 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,(5) fine
 interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
